Case 2:19-cv-02491-DMG-JC Document 92 Filed 01/11/21 Page 1 of 1 Page ID #:1336




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.     CV 19-2491 DMG (JCx)                                      Date    January 11, 2021

  Title Vitality Group International, Inc. v. Vitality Health Plan of                  Page     1 of 1
        California, Inc.

  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               KANE TIEN                                                 NOT REPORTED
               Deputy Clerk                                               Court Reporter

     Attorneys Present for Plaintiff(s)                         Attorneys Present for Defendant(s)
              None Present                                                None Present

 Proceedings: IN CHAMBERS — ORDER TO SHOW CAUSE WHY ACTION SHOULD
              NOT BE STAYED [89]

          On January 4, 2021, Defendant and Counterclaimant Vitality Health Plan of California,
 Inc. filed a notice that on November 21, 2020, it filed a Chapter 11 bankruptcy petition in the
 United States Bankruptcy Court for the Central District of California, Case No. 2:20-bk-21041-
 WB. [Doc. # 89.]

         In light of the foregoing, the parties are ORDERED TO SHOW CAUSE in writing by no
 later than January 19, 2021 why this action should not be stayed in its entirety as a result of the
 filing of Defendant’s bankruptcy petition. See 11 U.S.C. § 362(a)(1). Failure to timely or
 adequately respond will result in the Court issuing an order staying and placing the case on inactive
 status.

          IT IS SO ORDERED.




  CV-90                             CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk KT
